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*Pro hac vice motions forthcoming

Attorneys for Plaintiffs

                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      EUGENE DIVISION

J.N., by and through his next friend, T.S.; E.O., Case No. 6:19-cv-96______________
by and through his next friend, Alisha
Overstreet; J.V., by and through his next friend,
Sarah Kaplansky; B.M., by and through his next
friend, Traci Modugno; on behalf of themselves
and all others similarly situated, and

COUNCIL OF PARENT ATTORNEYS AND
ADVOCATES, INC.,
                                                   CLASS ACTION ALLEGATION
                       Plaintiffs,                 COMPLAINT FOR EQUITABLE RELIEF
                                                   UNDER THE INDIVIDUALS WITH
       v.                                          DISABILITIES EDUCATION ACT,
                                                   AMERICANS WITH DISABILITIES
OREGON DEPARTMENT OF EDUCATION,                    ACT, AND SECTION 504 OF THE
                                                   REHABILITATION ACT
COLT GILL, in his official capacities as
Director of Oregon Department of Education
and Deputy Superintendent of Public
Instruction for the State of Oregon, and

KATHERINE BROWN, in her official
capacities as Governor and Superintendent of
Public Instruction for the State of Oregon,

                      Defendants.

                                       INTRODUCTION

       1.       For years, hundreds of children with disabilities across Oregon have been denied

the opportunity to attend a full day of school. This longstanding denial persists unabated today.

Though all children with disabilities have the right under federal law to a free appropriate public

education and equal educational opportunity, many public schools throughout Oregon have

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unnecessarily and unlawfully shortened the school day for children who engage in challenging

classroom behaviors related to their disabilities. Schools frequently resort to this drastic and

harmful action without first adequately considering and developing services and supports that

would allow the students to successfully attend school for the full day, as required by law.

       2.       These excluded children are not among the very small group of students for

whom a shortened school day may be appropriate to accommodate medical conditions that limit

their ability to attend school safely and productively. Rather, they comprise a separate, larger

class of students who are denied the opportunity to attend school for the full day specifically due

to their disability-related behaviors.

       3.       Instead of receiving the full day of instruction provided to other students, which

typically lasts for six hours in Oregon public schools, children who are placed on shortened

school days often receive one or two hours of instruction per day; some receive as little as half an

hour of daily instruction. Even younger students—including five- and six-year-olds in their first

years of school—are routinely provided far less than a full school day because their needs have

not been supported. Although shortened school days are often proposed as a temporary measure

to manage student behaviors, students regularly remain on a shortened school day schedule for

an extended and sometimes indefinite basis that can last for months, semesters, or entire school

years. Some children who are subjected to shortened school days due to their disability-related

behaviors are eventually denied any instruction at all.

       4.       When these children do receive instruction, it is often provided through tutoring at

home or in a separate classroom where they learn alone or solely with other students with

disabilities, rather than in a general education classroom where students with and without

disabilities learn together and are far more likely to enjoy academic and social success. This



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isolation harms students by perpetuating the stigma, misunderstanding, and fear that often

underlies a school district’s decision to exclude children with disability-related behaviors from

the classroom. It further reinforces the unwarranted feelings of shame and humiliation these

children experience as a result of being deemed unfit to learn alongside their peers. Children

who are placed in these restrictive and isolating environments receive a clear and discriminatory

message: by virtue of their disabilities, they are unwelcome in and unsupported by their schools.

       5.       When children are subjected to shortened school days, they frequently fall behind

academically and miss out on critical social opportunities in which they can practice appropriate

behaviors. Instead of receiving this needed instruction, they are separated and disconnected from

peers who receive the academic, social, and emotional benefits of attending school for a full day.

       6.       Shortening the school day of a child with a disability is not an appropriate

substitute for providing the academic and behavioral services and supports that would enable that

child to learn and progress socially during a full school day. The vast majority of children with

disability-related behavioral challenges can learn in general education classrooms along with

their nondisabled peers if given the appropriate and legally required services and supports.

       7.       The Governor of Oregon,1 the Oregon Department of Education, and its Director

(collectively, Defendants or “the State”) are legally responsible for ensuring that all Oregon

students with disabilities receive a free appropriate public education that is free from

discrimination, and for taking effective action when school districts fail to provide such an

education. Though well aware of this responsibility, the State has failed to effectively address




1
       The Governor of Oregon also serves as Oregon’s Superintendent of Public Instruction.
See Or. Const. Art. VIII, § 1; Or. Rev. Stat. § 326.300.


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the practice among its school districts of unnecessarily subjecting students to shortened school

days, or denying them a school day entirely, due to their disability-related behaviors.

        8.       Under the Individuals with Disabilities Education Act (IDEA), 20 U.S.C. § 1400

et seq., the State must “ensure” that all eligible children with disabilities receive a free

appropriate public education. 20 U.S.C. § 1412(a)(1). The standard for such an education is a

“demanding” one: students with disabilities must receive an “appropriately ambitious”

educational program that gives them “the chance to meet challenging objectives.” Endrew F. v.

Douglas Cty. Sch. Dist. RE-1, 137 S. Ct. 988, 1000 (2017).

        9.       Congress enacted the IDEA, an “ambitious piece of legislation,” in response to

the serious problem that “a majority of handicapped children in the United States were either

totally excluded from schools or [were] sitting idly in regular classrooms awaiting the time when

they were old enough to drop out.” Id. at 999 (internal quotation marks and citations omitted).

Such exclusion leads to “pervasive and tragic academic stagnation.” Id. Thus, for most children

with disabilities, an appropriate education requires fully integrating the students into the general

education classroom and curriculum. See id. at 999–1000.

        10.      Accordingly, the IDEA also holds the State responsible for ensuring that children

with disabilities are educated in the least restrictive environment in which they can learn

alongside their nondisabled peers to the maximum extent appropriate to their needs. 20 U.S.C.

§ 1412(a)(5). Children with disabilities, including children whose disabilities affect their

behavior, may not be removed unnecessarily from general education classrooms in neighborhood

schools in which they could be served effectively with appropriate services and supports. See id.

        11.      Under the requirements of Title II of the Americans with Disabilities Act (ADA),

42 U.S.C. § 12131 et seq., and Section 504 of the Rehabilitation Act (Section 504), 29 U.S.C.


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§ 794, the State may not discriminate against students on the basis of their disabilities. State

agencies and officials thus may not permit practices that result in the unnecessary segregation of

children with disabilities who can be educated effectively for the full day in school alongside

their nondisabled peers if given needed services and supports. Congress enacted the ADA and

Section 504 to directly address the discrimination that people with disabilities face when they are

unnecessarily excluded from public life, such as the public school system, due to their

disabilities. See Olmstead v. L.C., 527 U.S. 581, 599–601 (1999).

       12.     The State of Oregon has been on notice for years that many of its school districts,

often rural and small school districts, deny children with disability-related behaviors a full day of

school—or the chance to attend school at all—in lieu of providing them with needed services.

By permitting these practices, Oregon violates the IDEA, ADA, and Section 504.

       13.     Despite years of pressure from families and advocates, the State has taken only

belated and insufficient steps to address this harmful and unlawful practice. In January 2016, the

State issued an Executive Memorandum to districts generally discouraging the use of shortened

school days due to student behaviors but approving the practice for students with severe

behaviors.2 In June 2017, the State passed a law that allows school districts to impose shortened

school days, but the law establishes each student’s “presumptive right” to the same hours of

instruction as other children receive and prohibits school districts from unilaterally shortening a

student’s school day. See O.R.S. §§ 343.161(4)(a)(C), (2). The State further asked some of its

advisory bodies to provide recommendations to ensure that all Oregon students are supported in




2
        See Oregon Dep’t of Ed. (ODE), Executive Numbered Memorandum 009-2015-16
Reduced School Days (Jan. 27, 2016),
https://www.ode.state.or.us/news/announcements/announcement.aspx?ID=13563.


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school and “experience[] an inclusive, safe and welcoming learning environment.”3 Lastly, the

State, through the Oregon Department of Education, has investigated administrative complaints

about this problem and, in some cases, ordered limited relief to individual students upon finding

violations of the IDEA.

       14.     However, these policies and practices have been inadequate to identify, correct, or

prevent the frequent violations of federal law that continue to occur on the State’s watch. The

State has yet to put an end to the widespread failures among its districts to provide students who

have disability-related behaviors with the supports they need to access a full day of instruction,

even in cases where the absence of such services and supports drives unlawful reliance on

shortened school days. The State’s inertia in addressing this ongoing and systemic practice,

beyond the limited steps described above, has deprived these children of the education that the

State is legally required to ensure.

       15.     J.N., E.O., J.V., B.M.4 (“Named Plaintiffs”), and the class of children they seek to

represent (collectively, “Plaintiff class”), are harmed or are at substantial and imminent risk of

harm because Defendants’ actions and inactions unnecessarily segregate them and deprive them

of educational services they need and to which they are entitled by the IDEA, ADA, and Section

504. Plaintiff Council of Parent Attorneys and Advocates, Inc. is a non-profit organization

whose members include the parents of, attorneys for, or advocates for the Plaintiff class.



3
        ODE, Oregon Safe and Effective Schools for ALL Students Advisory Committee,
“Summary and Recommendations Report” 3 (June 2018) (emphasis omitted); see also ODE,
Joint State Advisory Council for Special Education and State Interagency Coordinating Council,
“SB Overview” (Mar. 16, 2018) (on file with Plaintiffs). The Oregon Dispute Resolution
Committee also has discussed the issue of shortened school days for students with disabilities.
        4
          Pursuant to Rule 5.2(a) of the Federal Rules of Civil Procedure, the minor Named
Plaintiffs are identified by their initials. A motion and accompanying memorandum requesting
leave of the Court for the next friend of Plaintiff J.N. to proceed anonymously is forthcoming.


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       16.     Although the Supreme Court has made clear that “every child should have the

chance to meet challenging objectives,” Endrew F., 137 S. Ct. at 1000, the children in the

Plaintiff class have very little chance to meet any objectives due to their exclusion from school.

These children, like all Oregon children, are entitled to a chance to meet challenging objectives

and to a full and equal opportunity to learn free from discrimination. Plaintiffs seek declaratory

and injunctive relief to remedy the harms that Defendants have caused the Plaintiff class.

                                            PARTIES

A.     Plaintiffs

       17.     J.N. is a 6-year-old public school student residing in Oregon. He is a student with

a disability who is eligible for special education and related services under the IDEA. He also is

a qualified individual with a disability under the ADA and Section 504. Due to behaviors related

to his disabilities, J.N. was subjected to a shortened school day during the entire 2017-2018

school year, when he was in kindergarten. For several months, the length of J.N.’s school day

was just one hour. He brings this action through his next friend, T.S.

       18.     E.O. is a 10-year-old public school student residing in Oregon. He is a student

with a disability who is eligible for special education and related services under the IDEA. He

also is a qualified individual with a disability under the ADA and Section 504. Due to his

behavioral needs, E.O. currently receives a shortened school day. He brings this action through

his next friend, Alisha Overstreet.

       19.     J.V. is a 7-year-old public school student residing in Oregon. He is a student with

a disability who is eligible for special education and related services under the IDEA. He also is

a qualified individual with a disability under the ADA and Section 504. Until the current school




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year, J.V. had never been permitted to attend school for a full day due to behaviors caused by his

disabilities. He brings this action through his next friend, Sarah Kaplansky.

       20.     B.M. is a 14-year-old public school student residing in Oregon. He is a student

with a disability who is eligible for special education and related services under the IDEA. He

also is a qualified individual with a disability under the ADA and Section 504. Because of his

disability-related behaviors, B.M. has received multiple shortened school day schedules of

varying lengths, including just thirty minutes of daily instruction during the 2015-2016 school

year. Due to his behaviors, B.M. has been prohibited from attending school and provided little

or no instruction this school year. He brings this action through his next friend, Traci Modugno.

       21.     Plaintiff Council of Parent Attorneys and Advocates, Inc. (COPAA) is a national

not-for-profit membership organization of parents of children with disabilities, their attorneys,

and their advocates. COPAA’s mission is to protect and enforce the legal and civil rights of

students with disabilities and their families. COPAA’s primary goal is to secure appropriate

educational services for children with disabilities in accordance with federal laws, including the

IDEA, ADA, and Section 504.

       22.     COPAA accomplishes its mission by, among other things: providing resources,

training, and information to members to assist them in obtaining a free appropriate public

education and equal educational opportunity for children with disabilities; helping parents and

advocates file administrative complaints; educating the public and policymakers about the

experiences of children with disabilities and their families; and educating members about

developments in the federal laws and policies affecting education of children with disabilities.

       23.     COPAA has more than 2,100 members located across the United States.

Membership is open to all persons who are interested in furthering COPAA’s purposes and who



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pay annual dues as required. The Board of Directors is composed exclusively of COPAA

members. COPAA has active members in Oregon, including parents of children who are eligible

for special education and related services under the IDEA and are currently being subjected, and

are at substantial risk of being subjected, to shortened school days due to their behaviors.

       24.     COPAA’s members also include attorneys and advocates who represent students

with disabilities in Oregon and seek to obtain a free appropriate public education and equal

educational opportunity for these students. The State’s failure to take effective action to address

the systemic and unlawful use of shortened school days by its school districts has made

achieving this mission more difficult, time-consuming, and resource-intensive for these

members. In the absence of an adequate State system for detecting, correcting, and preventing

this practice, these attorneys and advocates have expended time and resources they would have

devoted to other work on behalf of students with disabilities in order to respond to requests for

assistance concerning the inappropriate use of shortened school days.

       25.     COPAA’s office is located at 8 Market Place, Suite 300, Baltimore, MD 21202.

COPAA brings this action on behalf of its active members who have children in the Plaintiff

class or who represent a child in the Plaintiff class as an attorney or advocate.

B.     Defendants

       26.     Defendant Oregon Department of Education (ODE) is the “state educational

agency” for Oregon, a governmental entity defined by the IDEA as “primarily responsible for the

State supervision of public elementary and secondary schools” and the provision of a free

appropriate public education in the least restrictive environment to all eligible students. 20

U.S.C. §§ 1401(32), 1412(a)(1), 1412(a)(5). ODE is a public entity covered by Title II of the




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ADA, 42 U.S.C. § 12131 et seq., and a recipient of federal financial assistance subject to Section

504, 29 U.S.C. § 794. ODE’s office is located at 255 Capitol Street NE, Salem, OR 97310.

       27.     Defendant Colt Gill is Director of ODE and the Deputy Superintendent of Public

Instruction for Oregon. He is responsible for supervising and directing ODE’s services,

programs, and activities, including enforcement of the IDEA, ADA, and Section 504. See Or.

Rev. Stat. §§ 326.300, 326.310. He is further responsible for supervising all special education

programs administered by any other state agency and for coordinating with other public agencies

as needed to ensure that eligible students receive the services required by the IDEA. See Or.

Rev. Stat. § 343.041; 20 U.S.C. § 1412(a)(12)(A). Defendant Gill’s office is located at 255

Capitol Street NE, Salem, OR 97310. Defendant Gill is sued in his official capacity.

       28.     Defendant Katherine Brown is the Governor of Oregon and Superintendent of

Public Instruction for Oregon. See Or. Const. Art. VIII, § 1; Or. Rev. Stat. §§ 326.300, 326.310.

She is responsible for supervising and directing ODE’s services, programs, and activities,

including enforcement of the IDEA, ADA, and Section 504. See id. She is further responsible

for supervising all special education programs administered by any other state agency and for

coordinating with other public agencies as needed to ensure that eligible students receive the

services required by the IDEA. See Or. Rev. Stat. § 343.041; 20 U.S.C. § 1412(a)(12)(A).

Defendant Brown’s office is located at 775 Court Street NE, Salem, OR, 97301. Defendant

Brown is sued in her official capacity.

                                JURISDICTION AND VENUE

       29.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

the action arises under federal law, specifically the Individuals with Disabilities Education Act,




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the Americans with Disabilities Act, and Section 504 of the Rehabilitation Act. Declaratory and

injunctive relief are available pursuant to 28 U.S.C. §§ 2201-02.

        30.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claims herein occurred in this district and because all

Defendants maintain offices in this district and are responsible for enforcing the laws relevant to

this litigation in this district.

                                      THE PLAINTIFF CLASS

        31.      Plaintiffs J.N., E.O., J.V., B.M., and COPAA bring this action pursuant to Federal

Rule of Civil Procedure 23(a) and 23(b)(2) on behalf of the Named Plaintiffs and the following

class: All students with disabilities aged 3 to 21 residing in Oregon who are eligible for special

education and related services under the IDEA and are currently being subjected to a shortened

school day or are at substantial risk of being subjected to a shortened school day due to their

disability-related behaviors.5

        32.      The Plaintiff class is so numerous that joinder of all members is impracticable.

During the 2016-2017 school year, a total of 77,964 Oregon children received special education

services under the IDEA, thousands of whom have disabilities that impact their behaviors.6

Disability Rights Oregon, the federally designated protection and advocacy program that




5
        The proposed Plaintiff class does not include students with medical needs unrelated to
their behaviors that limit the students’ ability to attend school or students aged 18 to 21 who
choose to attend a partial day of school in order to work as part of an adult transition program.
6
        See ODE, Statewide Report Card 2016-2017, at 71 (Nov. 30, 2017),
https://www.oregon.gov/ode/schools-and-districts/reportcards/Documents/rptcard2017.pdf.
Among these students, 4,996 have an “emotional disturbance,” 9,329 have autism spectrum
disorder, and 13,503 have an “other health impairment,” which includes attention deficit disorder
and attention deficit hyperactivity disorder. Id. See also 34 C.F.R. § 300.8 (defining disability
categories).


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provides legal advocacy to Oregon children with disabilities, reported to ODE in November 2015

that it had received parent complaints concerning shortened school days for at least 34 students

with disabilities who have behavioral needs in 27 of Oregon’s 197 school districts. Furthermore,

data from FACT Oregon, an advocacy organization that operates a helpline for Oregon parents,

indicates that it received nearly 280 unduplicated calls on behalf of children with disabilities

subjected to shortened school days due to their behaviors from September 2016 to December

2018 alone.

       33.     There are questions of law and fact common to the claims of all class members,

including (a) whether the State’s alleged failure to adequately supervise and monitor the use of

shortened school days by its school districts and to enforce the provision of a free appropriate

public education in the least restrictive environment by those school districts violates the IDEA,

and (b) whether the State’s alleged failure to adequately supervise, monitor, and enforce

nondiscrimination policies and practices concerning the use of shortened school days by its

school districts violates Title II of the ADA and Section 504.

       34.     The claims of J.N., E.O., J.V., and B.M. are typical of the claims of the class.

Due to Defendants’ policies, practices, procedures, acts, and omissions, the Named Plaintiffs and

the class members are currently being subjected to or are at substantial risk of being subjected to

a shortened school day at an Oregon public school because of their disability-related behaviors.

       35.     The Named Plaintiffs will fairly and adequately represent the interests of the

class. Each Named Plaintiff possesses a strong personal interest in the subject matter of this

lawsuit. The Named Plaintiffs are represented by experienced counsel with expertise in federal

laws concerning disability rights and special education, as well as expertise in federal class




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action litigation. Counsel have the legal knowledge and resources to fairly and adequately

represent the interests of all class members in this action.

       36.     Defendants’ policies, practices, procedures, acts, and omissions harm all class

members in the same manner. Defendants’ failure to take effective action to identify, correct,

and prevent the systemic use of shortened school days by Oregon school districts for children

with disability-related behaviors has deprived the Plaintiff class of the educational services to

which they are entitled by federal law, subjected them to disability-based discrimination, and

increased their risk of being subjected to such harms in the future. Final injunctive and

declaratory relief is thus appropriate for the Plaintiff class as a whole.

                                 STATUTORY BACKGROUND

A.     The Individuals with Disabilities Education Act

       37.     Under the IDEA, each state must “ensure” that it provides “special education” and

“related services” to all children with disabilities aged 3 to 21 residing in the state. 20 U.S.C.

§§ 1401(9), 1412(a)(1). Special education means specially designed instruction that meets the

unique needs of a child with a disability. See 20 U.S.C. § 1401(29). Related services means the

supportive services “required to assist a child with a disability to benefit from special education.”

20 U.S.C. § 1401(26). The State directs local school districts to provide special education and

related services to each eligible student with a disability by implementing an “individualized

education program” (IEP), an individually tailored statement that is developed, reviewed, and

revised by an “IEP team.” See 20 U.S.C. § 1414(d).

       38.     The IDEA further requires states to “ensure” that “[t]o the maximum extent

appropriate, children with disabilities . . . are educated with children who are not disabled, and

special classes, separate schooling, or other removal of children with disabilities from the regular



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educational environment occurs only when the nature or severity of the disability of a child is

such that education in regular classes . . . cannot be achieved satisfactorily.” 20 U.S.C.

§ 1412(a)(5).

       39.      Together, these requirements are commonly referred to as the State’s duty to

provide students a free appropriate public education in the least restrictive environment. As the

state educational agency for Oregon, ODE is specifically “responsible for ensuring that” all

eligible Oregon children with disabilities receive a free appropriate public education in the least

restrictive environment. 20 U.S.C. §§ 1412(a)(11)(A), (a)(1), (a)(5). ODE must coordinate with

other public agencies as needed to ensure that children with disabilities receive the education to

which they are entitled under the IDEA. See 20 U.S.C. § 1412(12).

       40.      To fulfill these responsibilities, the State, among other things, must engage in

“effective monitoring” to ensure that local school districts provide a free appropriate public

education in the least restrictive environment to all eligible children. See 20 U.S.C.

§§ 1416(a)(1)(C), (a)(3)(A), (a)(3)(B). While the State must use data to measure school districts’

performance, maintain an administrative complaint process,7 and take corrective action upon

finding any violations of the Act, see 20 U.S.C. §§ 1411(e)(2)(B)(i), 1415, 1416(a)(3), its duty

requires far more.

       41.      Rather than focusing on technical compliance, the State’s “primary focus” must

be on “improving educational results and functional outcomes for all children with disabilities.”




7
        Under the IDEA, a state’s administrative complaint processes must allow the filing of (a)
a “due process” complaint specific to an individual child, and (b) a “state complaint,” which any
organization or individual may file alleging violations of the IDEA and that need not relate to a
specific child. See 34 C.F.R. §§ 300.153, 300.507.


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20 U.S.C. § 1416(a)(2)(A).8 The State must ensure that students actually receive a free

appropriate public education in the least restrictive environment. See 20 U.S.C. §§ 1412(a)(1),

(a)(5); 1416(a)(1)(C), (a)(3)(A). Accordingly, the State must now guarantee that districts meet

the “markedly more demanding” standard for a free appropriate public education as clarified by

the Supreme Court in Endrew F., which explicitly demands that every child with a disability

receive an “ambitious” education, with the chance to meet “challenging objectives,” and

anticipates that most children can do so in the general education classroom. 137 S. Ct. at 1000.

B.     The Americans with Disabilities Act and Section 504 of the Rehabilitation Act

       42.     Under Title II of the ADA (Title II), “no qualified individual with a disability

shall, by reason of such disability, be excluded from participation in or be denied the benefits of

the services, programs, or activities of a public entity, or be subjected to discrimination by any

such entity.” 42 U.S.C. § 12132; see 28 C.F.R. § 35.130. Title II requires that public schools

provide children with disabilities an equal educational opportunity. See 28 C.F.R.

§ 35.130(b)(1)(ii).




8
         See also U.S. Dep’t of Educ., Dear Colleague Letter to Chief State School Officers on
Results-Driven Accountability (May 21, 2014),
https://www2.ed.gov/about/offices/list/osers/osep/rda/050914rda-lette-to-chiefs-final.pdf. After
evaluating the State’s technical compliance and educational results, each year since 2015, the
U.S. Department of Education has listed Oregon as a state in need of assistance in implementing
the IDEA for two or more consecutive years. See U.S. Dep’t of Educ., 2018 Determination
Letters on State Implementation of IDEA (July 24, 2018),
https://www2.ed.gov/fund/data/report/idea/ideafactsheet-determinations-2018.pdf; U.S. Dep’t of
Educ., 2017 Determination Letters on State Implementation of IDEA (July 12, 2017),
https://sites.ed.gov/idea/files/ideafactsheet-determinations-2017.pdf; U.S. Dep’t of Educ., 2016
Determination Letters on State Implementation of IDEA (July 10, 2016),
https://www2.ed.gov/fund/data/report/idea/ideafactsheet-determinations-2016.pdf; U.S. Dep’t of
Educ., Determination Letters on State Implementation of IDEA (June 2015),
https://www2.ed.gov/fund/data/report/idea/2015-ideafactsheet-determinations.pdf.


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       43.     Title II also prohibits the unnecessary segregation of individuals with disabilities

and requires public entities to administer their services, programs, and activities in the most

integrated setting appropriate to the needs of qualified individuals with disabilities. See

Olmstead v. L.C., 527 U.S. 581 (1999) (interpreting Title II); see also 28 C.F.R. § 35.130(d).

       44.     Public entities must make reasonable modifications to their policies, practices, or

procedures when necessary to avoid discrimination on the basis of disability, unless the

modifications would fundamentally alter the nature of the service, program, or activity. 28

C.F.R. § 35.130(b)(7).

       45.     Section 504 of the Rehabilitation Act (Section 504), 29 U.S.C. § 794, requires

entities that receive federal financial assistance to provide aids, benefits, and services to

individuals with disabilities in the most integrated setting appropriate to the individual’s needs.

34 C.F.R. § 104.4(b)(2).

       46.     Section 504 also requires that covered entities provide children with disabilities a

free appropriate public education, often implemented through an individualized “Section 504

plan.” A free appropriate public education under Section 504 means special education and

related aids and services designed to meet the needs of children with disabilities as adequately as

the needs of nondisabled children are met. See 34 C.F.R. § 104.33(a), (b)(1). This requirement

is similar to the IDEA requirement to provide a free appropriate public education (FAPE) but,

“unlike FAPE under the IDEA, FAPE under § 504 is defined to require a comparison between

the manner in which the needs of disabled and non-disabled children are met, and focuses on the

‘design’ of a child’s educational program.” Mark H. v. Lemahieu, 513 F.3d 922, 933 (9th Cir.

2008). Nonetheless, implementation of an IEP developed in accordance with the IDEA is one

means of meeting Section 504’s requirement. See 34 C.F.R. § 104.33(b)(2).



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       47.     Both Title II and Section 504 prohibit states from discriminating when providing

educational services, programs, and activities to children with disabilities, whether a state does

so directly or through other arrangements. See 28 C.F.R. § 35.130(b)(1); 34 C.F.R.

§ 104.4(b)(1). Further, states may not provide educational services or administer their

educational programs in a way that results in, aids, or perpetuates discrimination against children

with disabilities. See 28 C.F.R. § 35.130(b)(1)(v), (b)(3); 34 C.F.R. § 104.4(b)(1)(v), (b)(4).

The State of Oregon must therefore adequately supervise the school districts that carry out its

educational programs to ensure that students with disabilities are not subjected to discrimination.

                                   FACTUAL ALLEGATIONS

A.     Oregon Students with Disabilities are Unnecessarily Subjected to Shortened School
       Days

       48.     For students whose disabilities lead to challenging classroom behaviors, school

districts throughout Oregon frequently reduce the length of their school day, often by several

hours, in violation of the students’ rights under federal law to receive a free appropriate public

education without discrimination based on disability. These violations occur when districts

modify students’ IEPs or Section 504 plans to shorten their school days or informally shorten

students’ daily schedules without documentation. The widespread nature of this problem is

reflected by the facts that each of the Named Plaintiffs is enrolled in a different school district in

a different region of Oregon and that COPAA members encounter this problem statewide.

       49.     Although a small number of students with disabilities require a shortened school

day to accommodate medical needs that limit the number of hours or the time of day when those

students are able to learn, the children in the Plaintiff class are medically able to remain in school

for a full day. They are excluded because of classroom behaviors related to their disabilities.




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       50.     Many school districts, often in rural and isolated areas of Oregon, routinely

shorten the school day of such students without first developing, implementing, and revising as

needed plans to provide academic and behavioral interventions that will support the students’

needs and ensure productive full days of school. The failure to provide such interventions often

means that, even when students return to school full-time after having been subjected to a

shortened school day, their full instructional day is short-lived. School districts often respond to

the students’ still-unmet behavioral needs either by again unlawfully resorting to shortened

school days or turning to other practices that deprive students of time in the classroom.

       51.     Such practices cause students to lose substantial instructional time and time to

engage with their peers, making it harder for them to catch up academically and socially. They

also experience stigma and emotional trauma associated with being unwelcome and excluded—

especially those placed on shortened schedules for prolonged or indefinite periods of time—

which further compounds the challenges of returning to and reengaging in school for a full day.

       52.     The harms resulting from unnecessary shortened school days can impact students

for years, derailing their future opportunities in school and in life. Like Plaintiff B.M., see infra

pp. 28-32, some students fall so far behind academically and behaviorally while placed on a

shortened school day schedule that their districts eventually choose to deny them access to any

education at all. Students who are subjected to a shortened school day in lieu of receiving

appropriate services and supports in school may face further consequences of having

unaddressed behavioral needs, such as placement in residential facilities, institutionalization, or

court-involvement.

       53.     Even for students with disability-related behaviors who currently attend a full day

of school, the State’s failure to effectively address this systemic practice has placed them at



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substantial risk of being subjected to a shortened school day and experiencing such harms in the

future. This risk is particularly heightened for those students who have previously been denied

the opportunity to attend school for the full day. The passage of state legislation in 2017 that

requires districts to obtain data that would enable proactive monitoring of districts’ use of

shortened school days has not solved this problem. The law has not resulted in measurable

progress because the State has not actually collected or reviewed any such data; instead, it

continues to rely on its ad hoc, administrative complaint process to identify and correct

violations. Making matters worse, the State actually has exacerbated the risk of inappropriately

and unlawfully shortened school days by expressly authorizing in its 2016 Executive

Memorandum the use of shortened school days for students with the most severe behavioral

needs. See supra n.2. The State permits school districts to shorten students’ school days but

fails to either effectively clarify the limited circumstances under which such shortened days may

be permissible or provide supports to help school districts educate students with behavioral needs

for a full school day. See id. Moreover, the State’s education funding formula rewards school

districts that impose shortened school days by paying them the same amount for providing a

student with one hour of tutoring as it would if that student had received a full day of instruction

in school, creating a financial incentive to rely on shortened school days for students with

challenging behaviors. See O.A.R. 581-023-0006(7)(b)(D).

       54.     Despite notice that unlawfully shortened school days for students with disabilities

recur within and across Oregon school districts and have so recurred for years, the State’s

acquiescence to this ongoing and statewide practice has enabled the districts’ continued reliance

on shortened school days. Because of the State’s actions and inactions, students with

challenging behaviors are therefore at substantial and imminent risk of being subjected to this



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practice regardless of which school district serves them. As a result, the State has deprived the

Named Plaintiffs and the Plaintiff class of the education to which they are entitled.

Plaintiff J.N.

        55.      Plaintiff J.N. is a 6-year-old boy in the first grade who receives special education

and related services under the IDEA. He has been diagnosed with a hearing impairment, anxiety,

hyperactivity, and a developmental delay. During the 2017-2018 school year, J.N.’s small, rural

school district drastically shortened his school day due to behaviors related to his disabilities.

        56.      J.N.’s teachers have described him as a very bright, tenacious, inquisitive, and

creative child. He loves animals, books, superheroes, and “monster” trucks.

        57.      As a result of his disabilities, J.N. has difficulty managing his behaviors, focusing

on learning, and expressing himself with words. When he is upset or his work is not adequately

engaging, J.N. has displayed disruptive classroom behaviors that include throwing objects and

hitting or threatening others.

        58.      After J.N. was diagnosed with hearing loss in October 2016, he was found eligible

under the IDEA to receive special education and related services as a student with a hearing

impairment. When J.N. began kindergarten in September 2017, his IEP team noted that he

needed behavioral supports in addition to communication and technology supports related to his

hearing impairment. At the urging of J.N.’s mother and his educational advocate, the district

agreed to conduct a functional behavioral assessment to analyze the functions of J.N.’s

behaviors. It also developed a two-page interim behavior support plan for J.N., which focused

primarily on obtaining J.N.’s compliance with wearing his hearing aids.

        59.      J.N. began kindergarten attending classes in the general education classroom for

the full school day, lasting roughly six hours. However, J.N. soon had several incidents in which



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he engaged in disruptive behaviors related to his disabilities. Rather than expediting his

behavioral assessment or modifying his interim behavior support plan, his school district

shortened J.N.’s school day to a single hour over his mother’s objections, within the first three

weeks of his very first year in school. As a result, J.N. was scheduled to receive only 15 minutes

of instruction in literacy and 15 minutes in math—coupled with 15 minutes of recess and 15

minutes of sensory activities—in a separate classroom for special education students. The

district sometimes failed to provide J.N. even this minimal amount of daily instruction.

       60.     After shortening J.N.’s school day to a single hour, J.N.’s school district revised

his IEP in October 2017. The school district did not include any academic goals or interventions

in the IEP and acknowledged that J.N. was “not currently accessing any curriculum or classroom

activities” and was “unable to access his education.”

       61.     After repeated requests by his mother, the school district eventually increased the

length of J.N.’s school day. By January 2018, he attended school for two hours and 15 minutes

each day, including some time in the general education classroom. However, although J.N. was

still missing nearly two-thirds of the school day that his peers received, the district did not

complete his behavioral assessment or modify his interim behavior plan until that January.

Despite continued parent concerns, it did not formally evaluate J.N.’s academic and behavioral

strengths and needs until February 2018. Following its delay in considering all of J.N.’s needs,

the district recognized in March 2018 that J.N. is additionally eligible for IDEA services due to

his behavior-related disabilities.

       62.     In February 2018, J.N.’s mother filed an administrative state complaint against the

school district for, among other things, shortening J.N.’s school day without adequately

considering and providing supportive services that could enable him to succeed for the full day.



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The complaint also alleged that ODE had violated its own obligations to ensure that J.N. and

other children receive a free appropriate public education in the least restrictive environment.

       63.     ODE determined that J.N.’s district had indeed denied him a free appropriate

public education in the least restrictive environment by unnecessarily subjecting him to a

shortened school day. Despite this finding, ODE did not find itself in violation for failing to

ensure that J.N. received a free appropriate public education in the least restrictive environment,

asserting that it was unaware of the district’s failure to meet J.N.’s needs until the complaint.

       64.     Being subjected to a shortened school day substantially impaired J.N.’s ability to

make academic and behavioral progress and caused him to fall even further behind. His

exclusion from school has been emotionally devastating for J.N., who continues to want to be

with his classmates for the full day. J.N. transferred to another school in the district and, when

his family drives past his old school, he often has told his mother: “that’s where they hurt me.”

       65.     Following the resolution of J.N.’s complaint, the district eventually agreed to

increase the length of his school day after he began taking medications that improved his

behaviors. J.N. is now allowed to attend a full day of school, though he has been placed in a

separate classroom for students with behavioral needs. Furthermore, the medication periodically

causes J.N. to fall asleep in class for much of the school day. J.N.’s teachers and school staff do

not wake him when he falls asleep, and his IEP team has not reassessed how to meet his learning

needs. He has thus missed hours of instruction daily even while physically present at school.

       66.     J.N. has yet to receive effective interventions from the district to address his

behavioral needs, as the district has continued to implement strategies which proved ineffective

before J.N. began taking medication to help manage his behaviors. Even with the medication,

the district already has prohibited J.N. from attending a field trip with his class this school year



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due to his behaviors, reflecting the district’s ongoing failure to adequately support J.N.’s

behavioral needs. Without effective action by the State to ensure that J.N. consistently receives

the necessary behavioral supports, he faces a significant risk of being again subjected to a

shortened school day due to his disability-related behaviors.

Plaintiff E.O.

       67.       Plaintiff E.O. is a 10-year-old boy in the fourth grade who receives special

education and related services under the IDEA from a small, rural school district. Among other

disabilities, he has been diagnosed with autism spectrum disorder and attention deficit

hyperactivity disorder.

       68.       E.O. is a bright and curious student. School staff describe him as a very friendly,

cheerful, kind-hearted, and compassionate boy who likes to give hugs. He enjoys helping his

teachers and setting a good example for younger students. E.O. is interested in Greek mythology

and archaeology, and he loves dinosaurs and Legos.

       69.       Due to his disabilities, E.O. has difficulty regulating his emotions and impulses,

interpreting social cues, and remaining on task. He becomes upset if he perceives that a situation

is unfair, believes that he is being “picked on,” or experiences a change to his routine. E.O.

sometimes responds to his frustrations in school by yelling, stomping off, hitting, or kicking. As

his IEP team has recognized, some of E.O.’s behaviors “may be interpreted as intentional when

he simply does not know another way.”

       70.       E.O. began attending school in his current district in the 2015-2016 school year,

when he was in the first grade. School staff noted that E.O. lacked skills to self-regulate and, in

February 2016, the school developed a behavioral intervention plan with general strategies to

address E.O.’s behaviors. This plan was developed without a functional behavior assessment



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analyzing the purposes of E.O.’s behaviors, and it did not specify how school staff would teach

E.O. the skills to manage his emotions or how they would measure the plan’s effectiveness.

       71.     E.O. received a full day of school throughout the 2015-2016 school year,

spending most of each day in the general education classroom. In June 2016, the school district

found E.O. eligible for special education and related services under the IDEA due to his autism.

       72.     E.O.’s challenging classroom behaviors continued during the second and third

grade. In March 2017, the school district developed a new behavior intervention plan for E.O.

However, this plan was even less detailed than the generic behavioral intervention plan from the

prior school year and similarly was not informed by a functional behavior assessment.

       73.     The 2017-2018 school year was particularly challenging for E.O. as his needs

remained unmet. In October 2017, a district representative acknowledged that E.O. “definitely

has academic needs that are not being met right now,” but both school and district staff

considered those needs secondary to his behavioral needs. In response to his behaviors, the

school district repeatedly called E.O.’s parents to pick him up early and suspended him multiple

times. In December 2017, after the district proposed suspending him for five days, E.O.’s IEP

team concluded that his behaviors were a manifestation of his disabilities, and the district agreed

to conduct a functional behavior assessment. The district completed that assessment in January

2018, by which time it already had suspended E.O. for eleven days that school year.

       74.     By December of 2017, the district had placed E.O. on a half-day schedule due to

his behaviors, notwithstanding the State’s 2016 Executive Memorandum generally discouraging

the practice. The district failed to document E.O.’s shortened school day in his IEP, in violation

of the 2017 state law requiring districts to include a statement in the IEP “that explains the

reasons the student was placed on an abbreviated school day program.” O.R.S. § 343.161(4)(c).



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       75.     E.O. remained on a half-day schedule for the rest of his third grade year, spending

each day in a class with just one other student and a special education aide. He saw other

students only at lunch. His teachers that year reported that E.O. missed being in the general

education classroom and regularly talked about wanting to be with his peers. After E.O. spent

much of third grade receiving just half the instructional time that his classmates received, he

experienced gaps in his learning.

       76.     E.O.’s mother has repeatedly requested that E.O. be permitted to attend a full day

of school and to learn in a general education classroom, but the district has continued to subject

E.O. to a shortened school day over her objection. At the start of the 2018-2019 school year, the

district shortened E.O.’s school day by one hour and fifteen minutes and placed him in a setting

where he spent roughly two-thirds of each day separated from the general education class.

Following intervention by an attorney in December 2018, the district is now shortening E.O.’s

school day by thirty minutes each day. It has not provided E.O. with any additional services or

supports to ensure that he is successful during his longer school day.

       77.     The State’s ongoing failure to effectively monitor the use of shortened school

days by local school districts has enabled E.O.’s district to shorten his school day with little

consideration of whether he could successfully remain at school for the full day with additional

or different services and supports.

       78.     Being unnecessarily denied the opportunity to attend a full day of school along

with his classmates has caused and continues to cause E.O. significant harm. He has reported

that he “hates being different from his friends,” and while E.O. previously had some social

interactions with his classmates, those relationships fell apart during the period when he was

permitted to attend school for only half a day. He currently has no friends at school and is now



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reluctant to attend because he believes that no one likes him at his school. E.O. wants to learn

how to connect with his peers, but his shortened school day has made it even harder for him to

develop and practice the necessary skills for building positive relationships with others. E.O.

remains on a shortened school day schedule, and unless the district provides him with additional

services and supports to address this skills deficit, he is at significant risk of being subjected to

an even shorter school day in the future.

Plaintiff J.V.

        79.      Plaintiff J.V. is a 7-year-old boy in the second grade who receives special

education and related services under the IDEA from a small, rural school district. He has been

diagnosed with autism spectrum disorder and attention deficit hyperactivity disorder.

        80.      J.V. loves going to school and has been described by school staff as a fun and

active child who enjoys being helpful and responds well to praise. He likes singing and building

obstacle courses with cars and blocks. J.V. is largely non-verbal and is limited in his ability to

communicate, though he is eager to mimic the sounds of speech and interact socially with others.

        81.      Because of his disabilities, J.V. has difficulty adapting to changes in routine,

connecting with his peers, and sustaining attention to a given task. When upset, J.V. has run

away from adults, thrown objects, or been physically aggressive towards himself or others,

including pinching and clawing himself or banging his fists. Because J.V. is limited in his verbal

ability to communicate his needs and wants, his behaviors are a primary form of communication.

        82.      J.V. was diagnosed with autism at age two and received special education and

related services under the IDEA prior to kindergarten. Before J.V. had attended a single day of

kindergarten, his IEP team “lower[ed] [its] demands/expectations” for him due to his behaviors.




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       83.     Although it had yet to conduct an assessment of J.V.’s behaviors or provide him

with a behavior support plan to help prevent and manage his behaviors in the classroom, J.V.’s

school district restricted J.V. to a severely shortened two-hour school day on his very first day of

school in the district in August 2016. The district amended J.V.’s IEP in September 2016 to

formally adopt the shortened school day that already was informally in place, over his mother’s

objections. J.V. never attended school for the full 4.5 hour day that other students received

during his kindergarten year. Often, J.V. did not receive even the mere two hours of instruction

set forth in his IEP because his mother received near daily calls to pick him up early from school.

       84.     Moreover, under his shortened schedule, J.V. was completely isolated from his

peers. He received his instruction from two aides in an 8’ x 16’ workspace that was separate

from the larger classroom in which other special education students learned.

       85.     J.V. struggled both academically and behaviorally during his kindergarten year.

School staff had difficulty helping him focus on academic instruction during the short period he

was in school, and he regressed in his verbal and social communication skills. Furthermore,

despite J.V.’s initial enthusiasm for school, his exclusion from school and his classmates

negatively impacted his perception of school and his desire to be there.

       86.     J.V.’s behaviors worsened after he was placed on a shortened school day

schedule, but instead of identifying additional or different services that could better support his

needs and inclusion in the classroom, the district proposed in November 2016 that J.V. be sent to

a secure residential facility located over 200 miles away from his home and family. While the

district was evaluating the appropriateness of this facility for J.V., it offered J.V. six hours per

week of home tutoring in three two-hour sessions. In actuality, the district generally provided

the tutoring sessions to J.V. only once or twice a week.



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        87.     With the help of legal counsel, J.V.’s mother convinced the school district to

consult with an independent behavioral expert who found that placement in the residential

facility was unnecessary and recommended that the district provide J.V. a device to help him

communicate more effectively. J.V. remained in his school, and the district agreed to increase

the length of his school day gradually—initially to two-and-a-half hours each day—with the

expectation that he would attend a full day of school by September of the 2017-2018 school year.

        88.     However, when J.V. returned to school in September 2017, the school district

refused to provide a communication device, ended its consultation with the behavioral expert,

and returned J.V. to a shortened school day of three hours each day, just a few minutes longer

than his school day had been at the end of the prior school year.

        89.     On behalf of J.V., his mother filed an administrative due process complaint

against both the school district and ODE in October 2017. ODE dismissed J.V.’s claims against

itself for failing to ensure that J.V. received a free appropriate public education in the least

restrictive environment, holding that ODE is not a proper party to due process proceedings

unless it is required by law to directly provide services. The school district and J.V.’s mother

reached a confidential settlement in November 2017. J.V. completed the 2017-2018 year while

successfully attending school for one hour less each day than his first-grade classmates.

        90.     J.V. currently attends a full day of school but remains at significant risk of being

subjected to a shortened school day in the future, especially given his school district’s decision

last school year to continue J.V. on a shortened school day despite indicating earlier that he

would attend school for the full day. J.V.’s mother has not worked since he began school due to

the substantial risk that, absent effective action by the State, J.V.’s school district will return to

its practice of sending him home early or constantly calling her to help manage J.V.’s behaviors.



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Plaintiff B.M.

       91.       Plaintiff B.M. is a 14-year-old boy in the eighth grade who is eligible to receive

special education and related services under the IDEA from a rural school district. He has been

diagnosed with autism spectrum disorder and epilepsy. Since his family moved to the district in

2013, B.M.’s school district has either restricted him to a significantly shortened school day or

prohibited him from attending school at all due to behaviors caused by his disabilities.

       92.       B.M. came to his current school district as a happy and affectionate child who had

an infectious laugh and liked to smile. He is athletic and enjoys swimming, basketball, and

jumping on the trampoline. B.M. responds strongly to certain sensations and craves movement;

for example, B.M. flaps his hands at his sides or slaps his legs when he is excited, rocks back and

forth while seated or standing, and enjoys spinning himself and jumping around. B.M. has been

consistently described by the adults who work with him as a bright and intelligent child.

       93.       Due to his disabilities, B.M. has trouble transitioning to new routines, maintaining

attention, and controlling his impulses. B.M. also struggles to initiate, engage in, and maintain

social contact with others. B.M. is nonverbal and his frustration with his inability to

communicate has often led to aggressive behaviors, including biting his own hand, yelling,

kicking, hitting, or pinching.

       94.       B.M. moved to his current school district during the 2013-2014 school year, when

he was in the third grade. The district placed him in a class with several other children with

disabilities and he became overwhelmed at the sensory stimuli in the classroom. His behaviors

deteriorated and he began refusing to enter the building.

       95.       B.M.’s challenging behaviors continued during the 2014-2015 school year and his

mother received multiple calls a week to pick him up from school following behavioral



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incidents. The school district ultimately presented his mother with the choice of keeping B.M. in

a classroom that was not effectively meeting his needs, accepting home instruction, or

transferring B.M. early to middle school. Because B.M. was making little progress in his

classroom and she feared that he would be unable to thrive in a new school with classmates who

were two years older, B.M.’s mother reluctantly acquiesced to the home instruction.

       96.     B.M. was moved to a middle school for the 2015-2016 school year, but he

struggled to return to school from home instruction, and the behavior support plan that the school

district developed was ineffective. After this transition, his already minimal language skills

deteriorated further, and he lost the few words that he previously used to communicate. The

length of B.M.’s school day has fluctuated throughout his time in the district, but he began the

2015-2016 school year attending just the last half-hour of each school day; by March 2016, B.M.

had not received more than ninety minutes of daily instruction during that school year.

       97.     Receiving such limited instruction in isolated settings only worsened B.M.’s

behaviors, yet the district continued to shorten his school day. By March of 2016, the district

decided to provide B.M. only thirty minutes of instruction per day. His instruction was to be

provided in a classroom separate from children without disabilities by a paraprofessional

educator, rather than a teacher. The IEP team also identified B.M.’s severely limited ability to

communicate as a cause of his behaviors and determined that he urgently needed a device to help

him communicate. However, the district was unable to hire the paraprofessional necessary to

implement this plan, and its minimal efforts to help him communicate were unsuccessful.

       98.     The district did hire an autism specialist to work with B.M. and students with

similar needs, but B.M. was so disengaged from school by this point that he was only successful

in attending school intermittently during the fall of 2016, never for a full day. In September



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2016, the district contracted with a behavior specialist who had worked with B.M. previously,

even though the behavior specialist was based over an hour away from the district. The behavior

specialist was contracted to provide behavior coaching to B.M. in school on an interim basis and

to train the paraprofessional educator who the district would hire to take over, but the district

never filled the paraprofessional position. The behavior specialist resigned during the 2016

winter break, and no district staff filled the specialist’s role.

        99.     Lacking needed academic, behavioral, and communication supports, B.M.

became increasingly frustrated and resistant to his school’s efforts to educate him. Although the

goal in B.M.’s IEP was to transition him to a four-hour school day by the end of the 2016-2017

school year, he did not receive any services from the district to help him do this from January

2017 through the end of that school year.

        100.    On January 4, 2017, B.M.’s attorney wrote ODE’s Assistant Superintendent

raising a concern that the district lacked the expertise required to support B.M. and that there

were multiple children in the district like B.M. whose behavioral needs were not being met. The

ODE specialist replied that B.M. could file an administrative complaint.

        101.    The special education director for B.M.’s school district also wrote ODE to share

the view that a lack of resources had limited the district’s ability to serve B.M. and that both the

district and B.M.’s attorney hoped the State would provide additional resources. Despite these

requests for help, and an in-person meeting between ODE and the district to discuss providing

such resources to meet B.M.’s needs, ODE failed to provide the district any additional resources.

        102.    In April 2017, B.M.’s mother filed an administrative state complaint against the

school district and against ODE. ODE found that the school district had failed to provide B.M. a

free appropriate public education and ordered the district to take corrective action. However, it



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did not substantiate any of the allegations against itself, instead asserting that none of the

district’s failures were due to a lack of resources from the State. Furthermore, despite ODE’s

direct involvement in conversations about B.M.’s needs, ODE asserted that its knowledge of

B.M.’s situation was only “slight” until the complaint was investigated and thus it had no prior

opportunity to address the district’s noncompliance.

       103.    B.M.’s experiences at his school have been traumatic and have caused him to be

extremely anxious about attending his school or entering the school building. Although B.M.

prevailed in his administrative claims against the school district, the district continues to fail to

meet his needs. During the 2018-2019 school year, the district allowed B.M. to attend school

only once, and it provided him a handful of home tutoring sessions. When the aide hired to

provide the home instruction left for another job, the district asked B.M.’s mother not to bring

him to school until a suitable replacement aide could be found. After expressly prohibiting B.M.

from attending school, the district removed B.M. from its roster for failure to attend and

proposed transferring him out of the district.

       104.    Despite his continued eligibility for services under the IDEA, B.M.’s school

district is currently failing to provide him with any instruction or other services—in school or at

home—that would enable him to transition back to the school setting on a daily schedule that

meets his needs. He has now been placed in a facility for residential treatment and is expected to

receive educational services from another school district. Although the State did monitor the

district to ensure its compliance with the order requiring corrective action after B.M.’s

administrative complaint, the State has not continued to monitor whether the district is providing

B.M. with the required educational services or supports, nor has it taken action to address the

district’s complete failure to do so. Absent action from the State, when educational services



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resume for B.M., he faces a significant likelihood of again being denied needed instructional

time and experiencing the harms associated with unnecessary shortened school days.

B.     The State’s Knowledge of the Systemic, Unnecessary Use of Shortened School Days

       105.       For several years, the State has had ample notice that its school districts

unnecessarily and systematically deny children like J.N., E.O., J.V., and B.M. access to a full

school day and fail to provide these students with interventions, services, and supports required

by federal law.

       106.       On June 3, 2013, Disability Rights Oregon informed ODE that it had received

frequent inquiries from families across the state concerned about the use of shortened school

days for their children with behavioral needs. Since at least 2013, advocates have regularly

urged the State to solve this problem, prompting ODE to issue its 2016 Executive Memorandum.

       107.       After being made aware by families and advocates that this practice has continued

statewide following issuance of the Executive Memorandum, the state legislature passed Senate

Bill 263 in June 2017. The law concerns shortened (or “abbreviated”) school days, defined as

“any school day during which a student receives instruction or educational services for fewer

hours than other students who are in the same grade within the same school.” O.R.S.

§ 343.161(1)(a). Among other things, the law establishes each student’s “presumptive right to

receive the same number of hours of instruction or educational services as other students who are

in the same grade within the same school,” and prohibits districts from imposing a shortened

school day on a student without the parent’s consent. O.R.S. §§ 343.161(1)(d), (2), (4)(a)(C).

       108.       The State also has known of this systemic problem due to the long history of

administrative complaints filed against school districts and the State itself. Since 2008, the State

has issued roughly thirty written opinions resolving state complaints on behalf of students across



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Oregon who received shortened school days due to their behaviors, representing 12 percent of

ODE’s written opinions for state complaints but a mere fraction of the hundreds of families who

have reported the inappropriate use of shortened school days to advocates. See supra ¶ 32.

       109.    However, the State repeatedly has disclaimed notice of violations until the filing

of complaints. For example, after finding that one school district had systemically denied free

appropriate public education to students with disability-related behaviors by placing them on

shortened school day schedules, ODE determined that it was “unaware of” the denials and “not

afforded any reasonable opportunity to compel local compliance” prior to the complaints since

“[l]ittle, if any, of the data obtained through the Department’s monitoring and supervision

processes yields information that could put the Department on notice of any issues related to a

specific student.”9 Notwithstanding this position, the history of complaints involving shortened

school days—which does not include those resolved without a written opinion—has given the

State clear notice that this practice occurs on a statewide basis and has persisted for years.

       110.    The State also has been notified of multiple complaints filed with the Office for

Civil Rights of the U.S. Department of Education (OCR) alleging the unlawful use of shortened

school days under Title II and Section 504. In 2014, OCR received three complaints involving

shortened school days for students with behavioral needs in three rural Oregon districts, each of

which settled. OCR has also received complaints against Oregon districts for sending students

with disabilities home earlier than their peers for the school’s administrative convenience and, in




9
       ODE, Findings of Fact, Conclusions, and Final Order Case No. 18-054-017, at 8-9 (June
4, 2018), https://www.oregon.gov/ode/rules-and-policies/2018complaints/18-054-
017%20Dallas.pdf.


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2016, cautioned two districts against doing so.10 In all of these cases, the State was notified of

the allegations that its districts had unlawfully shortened the school days of students with

disabilities.

        111.    Lastly, the State for years has been made aware of the harmful impact of

unnecessarily shortened school days on children with disabilities through several local news

reports and essays discussing this issue.11

C.      The State’s Inadequate System for Ensuring an Appropriate Education

        112.    Despite its clear legal obligations and years of notice, the State has failed to

implement effective policies and procedures to ensure that Oregon children who are subjected to

shortened school days or denied a school day entirely due to their behaviors receive the services

to which they are entitled and are not unnecessarily excluded from school.

        113.    The State has developed some policies in response to this ongoing problem, such

as its 2016 Executive Memorandum and an administrative rule regarding minimum instructional

time. See supra n.2 (citing O.A.R. 581-022-1620, renumbered as O.A.R. 581-022-2320). The

State also has developed general procedures to supervise and monitor school districts, which




10
        See e.g., U.S. Dep’t of Ed., Letter to Silver Falls Sch. Dist. 4J, No. 10151452 (May 16,
2016), https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/10151452-a.pdf; U.S.
Dep’t of Ed., Letter to Beaverton Sch. Dist., No. 10151271 (Feb. 24, 2016),
https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/10151271-a.pdf.
11
        See e.g., Joel Greenberg, Oregon fails rural schools who need help teaching children
with disabilities: Guest Opinion, THE OREGONIAN (Nov. 26, 2017),
https://www.oregonlive.com/opinion/index.ssf/2017/11/oregon_fails_rural_schools_who.html;
Samantha Swindler, When the neediest students get the fewest school hours, THE OREGONIAN
(Sep. 17, 2017),
https://www.oregonlive.com/portland/index.ssf/2017/09/when_the_needest_students_get.html;
Betsy Hammond, State scolds schools that shortchange disabled students, THE OREGONIAN
(Mar. 19, 2016),
https://www.oregonlive.com/education/index.ssf/2016/03/injustice_righted_oregon_schoo.html.


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“may include district self-assessment, data collection, analysis and reporting, on-site visits,

review of policies and procedures, review of the development and implementation of IEPs,

improvement planning, and auditing federal fund use.” O.A.R. 581-015-2015.

       114.    However, these policies and procedures are inadequate to meet the State’s

statutory obligation to ensure that students with disability-related behaviors receive a free

appropriate public education in the least restrictive environment for a full school day or its

obligation under federal civil rights laws to ensure nondiscrimination against these students.

       115.    The State’s policies and procedures are defective in at least the following

respects: (1) the State does not collect readily available information about individual students

who are denied access to full school days due to their disabilities or the school districts that

impose shortened school days, information which could trigger the need for further monitoring

of both individual and systemic failures; (2) the State does not take responsibility for ensuring

school districts’ compliance with federal law through its enforcement actions beyond

implementing its administrative complaint system; and (3) the State fails to provide districts with

the technical assistance and other supports needed to prevent the unlawful use of shortened

school days for children with disability-related behaviors.

       116.    First, although the State has long been aware of the widespread and unlawful use

of shortened school days throughout Oregon, it has no policies or procedures in effect that

require school districts to report data that would allow it to identify the specific districts in need

of further monitoring or corrective action. As Defendant Gill has publicly acknowledged, the

State “[does not] have a way of knowing” whether its districts satisfy educational obligations to




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Oregon students with disability-related behavioral needs, including students who are subjected to

shortened school days due to their disability-related behaviors.12

       117.    Senate Bill 263 mandates that school districts create documentation which, if

collected by ODE, would allow the State to reliably estimate the number of Oregon children who

receive shortened school days during each school term.13 Furthermore, the State’s Executive

Memorandum on shortened school days encourages—but does not require—districts to collect

data demonstrating that a shortened school day is appropriate for a given student and that the

student’s parents have been meaningfully included in that decision. See supra n.2. However, the

State has knowingly failed to collect and review any of this data in order to ensure that students

receive an education in accordance with federal law and its own administrative rules and policies

regarding instructional time, even though two of its own advisory bodies have urgently

recommended robust data collection and reporting on shortened school days.14

       118.    Moreover, the self-assessments that school districts must complete for the State

under the IDEA are based on a sample of student files that, in some cases, do not include records

from students who experience shortened school days in school districts that systemically engage

in this practice. For example, even when the State investigated a series of complaints and found



12
        Alisha Roemeling, Violent student behaviors on the rise, officials say, THE REGISTER-
GUARD (Nov. 26, 2018), https://www.registerguard.com/news/20181117/violent-student-
behaviors-on-rise-officials-say.
13
        Senate Bill 263 requires that school districts obtain from parents signed
acknowledgements that they have been informed of their rights under the law and that districts
document the reasons for placing a student on a shortened school day in the IEP. See O.R.S.
§§ 343.161(4)(b), (4)(c).
14
        See ODE, Oregon Safe and Effective Schools for ALL Students Advisory Committee,
“Summary and Recommendations Report” 11 (June 2018); ODE, Joint State Advisory Council
for Special Education and State Interagency Coordinating Council, Minutes (Mar. 16, 2018),
https://www.oregon.gov/ode/students-and-family/SpecialEducation/Documents/sasceminutes3-
16-18.pdf.


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that one school district had systemically denied a free appropriate public education in the least

restrictive environment to three students given shortened school days due to their disability-

related behaviors, none of those students were included in the data sample reported to the State.

See supra n.9, at 7, 9 n.19. The State’s passive approach to ensuring the provision of a free

appropriate public education in the least restrictive environment thus failed to detect this

systemic denial until these families filed complaints with the assistance of counsel.

       119.    Second, the State fails to take sufficient enforcement action to ensure compliance

with federal law or with its own deficient policies and procedures regarding shortened school

days and instructional time. The State insists that it can “find and remediate local school district

non-compliance” through its administrative complaint procedures.15

       120.    Although operating an effective complaint system is a critical responsibility of

state departments of education, the State’s haphazard correction of legal violations in the subset

of claims that come forward through the complaint process does not and cannot ensure that all

students actually receive a free appropriate public education in the least restrictive environment

or prevent discrimination based on disability, particularly when a district is the subject of a

systemic complaint or multiple complaints about the same issue. Furthermore, the State’s

insistence that the administrative complaints that are filed adequately represent all of the




15
       See ODE, Findings of Fact, Conclusions, and Final Order Case No. 17-054-012, at 17
(June 22, 2017), https://www.oregon.gov/ode/rules-and-policies/2017complaints/17-054-
012%20ODE-Douglas%20Co.pdf. As required, the State operates an administrative complaint
process in which it investigates and resolves complaints alleging violations of the IDEA by
school districts or ODE itself. See 34 C.F.R. § 300.151 et seq.; 34 C.F.R. §300.507 et seq.
Parents of children with disabilities may also file claims of discrimination under Section 504
with the State or they may file a claim of discrimination under the ADA directly with their
school district and appeal if needed to ODE.


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individual and systemic problems across districts regarding the use of shortened school days is

belied by the reports to advocates from hundreds of concerned families.

       121.    For example, in August 2017, ODE found that one school district substantially

shortened the school days of four children with disabilities to just two or three hours a day due to

their disruptive behaviors. It determined that the district gave little or no consideration to less

restrictive options and had systemically failed to consider providing positive behavioral

interventions and supports. However, because the district did not document the services that it

was providing students, ODE concluded that it could not determine which services were needed

to keep these students in school for the full day and that it thus lacked sufficient information to

find a violation of the IDEA. Despite its own Executive Memorandum directing districts to use

shortened school days only in extreme cases when all other options have failed, ODE did not act

upon the known misuse of shortened school days for these students to ensure that the district was

providing a free appropriate public education in the least restrictive environment to students on

shortened school days, such as by conducting onsite visits or offering technical assistance. Two

months later, the parent of another child with disability-related behaviors filed a complaint

against the same district for needlessly shortening their child’s school day.

       122.    Even when the State finds that a school district has violated federal law, it does

not sufficiently guard against the same or new denials of students’ rights in the future. For

instance, although ODE found that J.N. was denied a free appropriate public education when he

was subjected to a shortened school day, he continues to miss hours of daily instruction due to

medications he is compelled to take in order to remain at school. Because of the State’s failure

to ensure that its districts provide needed services and supports, J.N. and children like him

remain unable to access a full day of instruction even after prevailing in the complaint process.



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       123.    Third, the State has failed to provide school districts with adequate resources,

technical assistance, and training to help prevent the unnecessary use of shortened school days

and to correct school districts’ legal violations prior to and apart from the filing of complaints.

The 2016 Executive Memorandum advises school districts that a reduction in instructional time

may trigger the procedural safeguards of the IDEA, but it offers scarce guidance on how to

effectively support students with behavioral needs and critically omits any reference to the

nondiscrimination requirements of the ADA and Section 504.

       124.    Some districts that wish to avoid the use of shortened school days and to provide

their students with more effective behavioral supports struggle to do so in the absence of

additional resources from the State. Upon information and belief, at least one school district that

has systemically imposed shortened school days on students with behavioral needs is now

considering using funding that was intended to hire an additional special education teacher and

other local resources to instead provide needed school-based behavioral services.

       125.    Even when asked directly by districts for help, the State has declined to provide

additional resources, expertise, or training to help them support students with disability-related

behavior needs. When B.M.’s attorney and his school district both asked ODE to help the

district meet B.M.’s needs, ODE did not provide any such assistance. Instead, it asserted

confidence that the district was doing all that it could—despite later finding that the district had

denied B.M. a free appropriate public education—and acknowledged that the district’s difficulty

in supporting B.M.’s needs is not a unique problem among Oregon districts.

       126.    In the absence of needed assistance from the State, many districts have continued

to resort to shortening the school day of children with behavioral needs. Well after the State

issued its Executive Memorandum, FACT Oregon reported that sixty-eight (roughly thirteen



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percent) of the unduplicated calls and emails it received from families seeking support through

its special education helpline from September 2016 to January 2017 concerned children with

disabilities who received shortened school days due to their behaviors. As FACT Oregon told

the State in 2017, “shortened school days for behavior, and the inappropriate use of shortened

school days in particular, remains a widespread problem for Oregon students with disabilities.”16

       127.    Due to the State’s failures, Oregon school districts persist in denying students

with disability-related behaviors access to full school days without providing or adequately

considering alternative services and supports that could enable these students to learn for the full

day. If the State took effective action to identify the districts engaged in this practice, correct

violations of federal law, and provide technical assistance and resources, the children in the

Plaintiff class could receive the services that they need to be fully included in their schools.

       128.    Following years of calls by advocates for the State to end these systemic

violations of the rights of Oregon students with disabilities, State agency representatives met

with local stakeholders in June, August, and September 2018 to discuss this issue. However, the

State has not identified any concrete steps it has undertaken since then to address the ongoing

problem and Plaintiffs are aware of none.

       129.    Through its continued inaction and ineffective policies and procedures regarding

shortened school days, the State has violated its duties under the IDEA, ADA, and Section 504.

In turn, the State has abandoned the many Oregon students with disabilities who will not receive

the education to which they are entitled under federal law until the State takes necessary action.

                                      CAUSES OF ACTION



16
        Caitlin Shockley, FACT Oregon, SACSE Constituent Report 2 (Jan. 20, 2017),
https://olis.leg.state.or.us/liz/2017R1/Downloads/CommitteeMeetingDocument/99821.


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      COUNT 1—Individuals with Disabilities Education Act, 20 U.S.C. § 1400 et seq.

       130.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs of this

Complaint as though fully set forth herein.

       131.    Each Named Plaintiff and member of the Plaintiff class is a child with a disability

who is eligible for special education and related services under the IDEA. See 20 U.S.C.

§§ 1401, 1412. Plaintiff COPAA’s members include parents, attorneys, and advocates of the

Named Plaintiffs and members of the Plaintiff class.

       132.    Defendant Oregon Department of Education, as the state educational agency for

the State of Oregon, is “primarily responsible for the State supervision of public elementary and

secondary schools” and the provision of a free appropriate public education in the least

restrictive environment to all eligible students. See 20 U.S.C. §§ 1401(32), 1412(a)(1),

1412(a)(5). Defendant Gill and Defendant Brown are the state officials responsible for

supervising and directing the services, programs, and activities of the Oregon Department of

Education and for supervising all special education programs that are administered by any other

state agency. See Or. Rev. Stat. §§ 326.300, 326.310, 343.041.

       133.    By the acts and omissions alleged herein, Defendants have violated the rights of

the Named Plaintiffs and the Plaintiff class under the IDEA, 20 U.S.C. § 1400 et seq., and its

implementing regulations by:

           a. failing to have in effect policies and procedures to ensure that the State of Oregon

               provides a free appropriate public education to all eligible children in the state, 20

               U.S.C. § 1412(a)(1); 34 C.F.R. § 300.101;




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           b. failing to have in effect policies and procedures to ensure that the State of Oregon

               educates all eligible children in the least restrictive environment, 20 U.S.C.

               § 1412(a)(5); 34 C.F.R. § 300.114;

           c. failing to adequately supervise local education agencies in the provision of a free

               appropriate public education in the least restrictive environment, 20 U.S.C.

               § 1412(a)(11); 34 C.F.R. § 300.149;

           d. failing to ensure coordination between the Oregon Department of Education and

               other public agencies as needed to ensure that all services necessary for the

               provision of a free appropriate public education have been provided, 20 U.S.C.

               § 1412(a)(12), 34 C.F.R. § 300.154; and

           e. failing to effectively monitor implementation of and to enforce the IDEA’s

               requirements regarding the provision of a free appropriate public education in the

               least restrictive environment, 20 U.S.C. § 1416(a)(1)(C), (a)(3); 34 C.F.R.

               § 300.600.

            COUNT 2—Americans with Disabilities Act, 42 U.S.C. § 12131 et seq.

       134.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs of this

Complaint as though fully set forth herein.

       135.    Each Named Plaintiff and member of the Plaintiff class is an “individual with a

disability” within the meaning of the ADA. Their disabilities substantially limit one or more

major life activities, including but not limited to, learning, reading, concentrating, thinking, and

communicating. 42 U.S.C. § 12102.




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       136.     As school-age children who live in the State of Oregon, each Named Plaintiff and

member of the Plaintiff class is qualified to participate in Defendants’ educational programs and

services. See 42 U.S.C. § 12131(2).

       137.     Defendant Oregon Department of Education is a public entity subject to Title II of

the ADA. Defendant Gill and Defendant Brown are the state officials responsible for

administering and/or supervising the Oregon Department of Education’s services, programs, and

activities for children with disabilities. 42 U.S.C. § 12131(1).

       138.     By the acts and omissions alleged herein, Defendants have discriminated against

the Named Plaintiffs and the Plaintiff class in violation of Title II of the ADA, 42 U.S.C.

§ 12131 et seq., and its implementing regulations by, on the basis of disability:

           a.   excluding the Named Plaintiffs and the Plaintiff class from participation in, and

                denying them the benefits of, a full school day, and otherwise discriminating

                against them, 28 C.F.R. § 35.130(a);

           b. denying them an educational opportunity that is equal to the opportunity afforded

                other children, § 35.130(b)(1)(ii);

           c. denying them educational services that are as effective as the services provided to

                other children, § 35.130(b)(1)(iii);

           d. unnecessarily providing them different or separate educational services,

                § 35.130(b)(1)(iv);

           e. aiding or perpetuating discrimination against them by providing significant

                assistance to local school districts that discriminate against these children on the

                basis of disability, § 35.130(b)(1)(v);




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           f. utilizing methods of administration that have the effect of subjecting them to

               discrimination on the basis of disability, have the effect of substantially impairing

               accomplishment of its objectives for students with disabilities, and perpetuate the

               discrimination of local school districts against these children, § 35.130(b)(3);

           g. failing to reasonably modify their policies, practices, or procedures as needed to

               avoid discrimination on the basis of disability, § 35.130(b)(7); and

           h. failing to provide them educational services, programs, and activities in the most

               integrated setting appropriate to their needs, § 35.130(d).

       139.    Defendants have discriminated against the Named Plaintiffs and the Plaintiff class

on the basis of disability by failing to ensure that Oregon school districts do not unnecessarily

segregate children with disabilities from their peers by subjecting the children to shortened

school days. See Olmstead v. L.C., 527 U.S. 581 (1999).

       140.    The relief sought by Plaintiffs and the Plaintiff class would not require a

fundamental alteration to Defendants’ programs, services, or activities.

              COUNT 3—Section 504 of the Rehabilitation Act, 29 U.S.C. § 794

       141.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs of this

Complaint as though fully set forth herein.

       142.    Each Named Plaintiff and member of the Plaintiff class is an “otherwise qualified

individual with a disability” within the meaning of Section 504. 29 U.S.C. §§ 794, 705(20).

       143.    As school-age children who live in the State of Oregon, each Named Plaintiff and

member of the Plaintiff class is qualified to participate in Defendants’ educational programs and

services. 34 C.F.R. § 104.3(l)(2).




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       144.     Defendant Oregon Department of Education is a recipient of federal financial

assistance subject to Section 504. 29 U.S.C. § 794(b)(2)(B). Defendant Gill and Defendant

Brown are the state officials responsible for administering and/or supervising the Oregon

Department of Education’s services, programs, and activities for children with disabilities.

       145.     By the acts and omissions alleged herein, Defendants have discriminated against

the Named Plaintiffs and the Plaintiff class in violation of Section 504 of the Rehabilitation Act,

29 U.S.C. §794, and its implementing regulations by, solely on the basis of disability:

           a.   excluding the Named Plaintiffs and the Plaintiff class from participation in, and

                denying them the benefits of, a full school day, and otherwise discriminating

                against them, 34 C.F.R. § 104.4(a);

           b. failing to provide them with a free appropriate public education, including special

                education and related aids and services that are designed to meet their needs as

                adequately as the needs of nondisabled children are met and that adhere to the

                procedural safeguards set forth in Section 504, § 104.33;

           c. denying them an educational opportunity that is equal to the opportunity afforded

                other children, § 104.4(b)(1)(ii);

           d. denying them educational services that are as effective as the services provided to

                other children, § 104.4(b)(1)(iii);

           e. unnecessarily providing them different or separate educational services, § 104.4

                (b)(1)(iv);

           f. aiding or perpetuating discrimination against them by providing significant

                assistance to local school districts that discriminate against these children on the

                basis of disability, § 104.4(b)(1)(v);



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            g. utilizing methods of administration that have the effect of subjecting them to

               discrimination on the basis of disability, have the effect of substantially impairing

               accomplishment of its objectives for students with disabilities, and perpetuate the

               discrimination of local school districts against these children, § 104.4(b)(4);

            h. failing to serve them alongside their nondisabled peers in academic and

               nonacademic settings to the maximum extent appropriate, § 104.34; and

            i. denying them an equal opportunity to participate in non-academic and

               extracurricular services and activities, § 104.37.

       2.      The relief sought by Plaintiffs and the Plaintiff class would not require a

fundamental alteration to Defendants’ programs, services, or activities.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       A.      Certify this case as a class action pursuant to Federal Rule of Civil Procedure 23;

       B.      Declare that Defendants have violated the Individuals with Disabilities Education

Act, the Americans with Disabilities Act, and Section 504 of the Rehabilitation Act;

       C.      Permanently enjoin Defendants from subjecting the Named Plaintiffs and Plaintiff

class to policies and practices that violate their rights under the Individuals with Disabilities

Education Act, the Americans with Disabilities Act, and Section 504 of the Rehabilitation Act;

       D.      Order Defendants to develop, adopt, and implement policies and practices that

will ensure that the State of Oregon and its school districts provide a free appropriate public

education in the least restrictive environment to all eligible children in the state, including by

providing children whose disabilities lead to challenging classroom behaviors with the services

and supports they need to access a full school day.



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       E.      Order Defendants to develop, adopt, and implement policies and practices to

ensure the State of Oregon and its school districts do not discriminate against students on the

basis of disability, including by unnecessarily excluding children with disability-related

behaviors from a full school day and thereby denying them an equal educational opportunity.

       F.      Award Plaintiffs reasonable costs and attorney’s fees incurred in this action; and

       G.      Grant any such other relief as the Court deems just, necessary, and proper.

RESPECTFULLY SUBMITTED this 22nd day of January, 2019

                     ________
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